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				IN RE AMENDMENTS TO RULE 3, 4 AND 21 OF RULES OF STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS2023 OK 107Decided: 11/13/2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 107, __ P.3d __

				

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ORDER



Rule 3, Rule 4, and Rule 21 of the Rules of the State Board of Examiners of Certified Shorthand Reporters, Title 20, Chapter 20, Appendix 1, are hereby amended as shown on the attached Exhibit "A." The amended rules shall be effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 13TH DAY OF NOVEMBER, 2023.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


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&nbsp;EXHIBIT A

(clean -- no markup)

Rules of the State Board of Examiners of Certified Shorthand Reporters

Title 20, Chapter 20, Appendix 1

Rule 3. Eligibility

a) Every candidate who seeks to be examined for enrollment as a certified shorthand reporter shall:

1) Prove to the satisfaction of the Board that he/she is:

i) of legal age;

ii) meets the requisite standards of ethical fitness; and

iii) has at least a high school education, or the equivalent thereof.

This information shall be furnished to the Board by a sworn, notarized affidavit;

2) Submit to the Secretary of the Board, or a designee, a properly completed application form provided by the Board, accompanied by such evidence, statements or documents as required by the Board, including an examination fee receipt from the Clerk of the Supreme Court showing payment of the fees required by the Board and approved by the Supreme Court;

3) Declare that he/she is a writer of shorthand by one of the accepted methods set forth in Section 1503(D) of Title 20 of the Oklahoma Statutes; and

4) Provide such additional proof as may be required by the Board to establish that the candidate meets the requirements set forth in Section 1503 of Title 20 of the Oklahoma Statutes.

b) Academic dishonesty during the examination process will result in the applicant's disqualification, and the applicant may not take the examination again for two (2) years from the date of the examination at which the applicant was disqualified.

c) A candidate who has previously failed an examination may be re-examined at any subsequent regular examination upon giving the Board notice via the standard application, and payment of the applicable examination fee as set by the Board and approved by the Supreme Court. The examination fee will be forfeited if the candidate fails to appear for the examination, or fails to complete the examination, unless an exception is granted by the Board.

Rule 4. Test Requirements 

a) The examination for enrollment as a certified shorthand reporter shall consist of the following:

1) Testimony and Proceedings Skills Examination -- A two-voice question-and-answer dictation of testimony at two hundred (200) words per minute for five (5) minutes. Speaker designations such as "Q" and "A" will not be read nor counted as words, but must be appropriately indicated in the transcript. One (1) hour will be given for the transcription of the question-and-answer dictation.

2) Literary Materials Skills Examination -- A five-minute dictation of literary material at one hundred eighty (180) words per minute. One (1) hour will be given for the transcription of the literary dictation.

3) The Oklahoma Written Knowledge Test -- A written knowledge test of not less than twenty-five (25) multiple choice questions relating to the Oklahoma law and court rules, duties of certified shorthand reporters, and general court procedure. This section of the examination will be administered in forty-five (45) minutes. Applicants will be provided with the study aids from which the test questions will be taken.

b) Candidates may take one or both of the skills examinations at any regularly scheduled examination. A candidate who has successfully completed either of the skills examinations may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

c) Candidates may take the Oklahoma Written Knowledge Test at any regularly scheduled examination. Proof of minimum proficiency shall not be required for candidates taking only the Oklahoma Written Knowledge Test. A candidate who has successfully completed the Oklahoma Written Knowledge portion of the examination may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

d) A candidate who provides proof of passing the Registered Professional Reporter (RPR) Examination of the National Court Reporters Association, the Registered Skilled Reporter (RSR) Examination of the National Court Reporters Association, or an equivalent test as authorized by the Supreme Court, is eligible for enrollment without taking the skills examinations described in paragraphs a(1) and a(2) of this Rule. The applicant must, prior to certification, pass the Oklahoma Written Knowledge portion of the examination, and meet all other applicable eligibility requirements.

Rule 21. Continuing Education

a) All certified shorthand court reporters and every court reporter temporarily employed by the District Courts of Oklahoma, Workers' Compensation Court of Existing Claims, the Workers' Compensation Commission, or Corporation Commission must complete a total of four (4) hours of continuing education per calendar year.

Certified shorthand reporters must meet these continuing education requirements beginning the first year after the court reporter is enrolled or admitted by reciprocity. Temporary court reporters must meet these requirements during any year in which they are employed by the District Courts of Oklahoma, Workers' Compensation Court of Existing Claims, the Workers' Compensation Commission, or Corporation Commission if they do not successfully pass the Oklahoma certified shorthand reporter examination during that same year.

b) A court reporter may seek an exemption from the continuing education requirement by filing with the Board a written statement, verified under oath, setting forth one of the following grounds for exemption:

1) The reporter has attained the age of sixty-five (65) before or during the calendar year for which the reporter seeks an exemption;

2) The reporter was a member of the armed forces on full-time active duty during the entire calendar year for which the reporter seeks an exemption;

3) A medical condition has prevented the court reporter from working as a court reporter and completing continuing education for the calendar year for which the reporter seeks an exemption. Written verification by a licensed physician must accompany such an exemption request.

All exemption requests must be approved by the Board.

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&nbsp;EXHIBIT A

(markup shown)

Rules of the State Board of Examiners of a Certified Shorthand Reporters

Title 20, Chapter 20, Appendix 1

Rule 3. Eligibility



a)Every candidate who seeks to be examined for enrollment as a certified shorthand reporter shall:



Prove to the satisfaction of the Board that he/she is:
i) of legal age;
ii) meets the requisite standards of ethical fitness; and
iii) has at least a high school education, or the equivalent thereof.


This information shall be furnished to the Board by a sworn, notarized affidavit;

Prove to the satisfaction of the Board that he/she possesses a minimum level of court reporting proficiency which would allow the applicant to meet the examination requirements established in Section 1503(B)(1) of Title 20. An applicant may satisfy such requirements by obtaining verification through a court reporting school official of the applicant's level of proficiency, as outlined by the test application; by passing a preliminary proficiency examination, which has been approved by the Board; or by proving that the applicant has previously held any state or national shorthand reporting certificate or license;


2) Submit to the Secretary of the Board, or a designee, a properly completed application form provided by the Board, accompanied by such evidence, statements or documents as required by the Board, including an examination fee receipt from the Clerk of the Supreme Court showing payment of the fees required by the Board and approved by the Supreme Court;

3) Declare that he/she is a writer of shorthand by one of the accepted methods set forth in Section 1503(D) of Title 20 of the Oklahoma Statutes; and

4) Provide such additional proof as may be required by the Board to establish that the candidate meets the requirements set forth in Section 1503 of Title 20 of the Oklahoma Statutes.

b) Academic dishonesty during the examination process will result in the applicant's disqualification, and the applicant may not take the examination again for two (2) years from the date of the examination at which the applicant was disqualified.

c) A candidate who has previously failed an examination may be re-examined at any subsequent regular examination upon giving the Board notice via the standard application, and payment of the applicable examination fee as set by the Board and approved by the Supreme Court. The examination fee will be forfeited if the candidate fails to appear for the examination, or fails to complete the examination, unless an exception is granted by the Board.



Rule 4. Test Requirements 

a) The examination for enrollment as a certified shorthand reporter shall consist of the following:



1) Testimony and Proceedings Skills Examination -- A two-voice question-and-answer dictation of testimony at two hundred (200) words per minute for five (5) minutes. Speaker designations such as "Q" and "A" will not be read nor counted as words, but must be appropriately indicated in the transcript. One (1) hour will be given for the transcription of the question-and-answer dictation.

2) Literary Materials Skills Examination -- A five-minute dictation of literary material at one hundred eighty (180) words per minute. One (1) hour will be given for the transcription of the literary dictation.

3) The Oklahoma Written Knowledge Test -- A written knowledge test of not less than twenty-five (25) multiple choice questions relating to the Oklahoma law and court rules, duties of certified shorthand reporters, and general court procedure. This section of the examination will be administered in forty-five (45) minutes. Applicants will be provided with the study aids from which the test questions will be taken.

b) Candidates may take one or both of the skills examinations at any regularly scheduled examination. A candidate who has successfully completed either of the skills examinations may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

c) Candidates may take the Oklahoma Written Knowledge Test at any regularly scheduled examination. Proof of minimum proficiency shall not be required for candidates taking only the Oklahoma Written Knowledge Test. A candidate who has successfully completed the Oklahoma Written Knowledge portion of the examination may retain the credit for that portion of the examination for two (2) years from the date passed, and will not be required to retake that portion of the examination during the two (2) year period.

d) A candidate who provides proof of passing the Registered Professional Reporter (RPR) Examination of the National Court Reporters Association, the Registered Skilled Reporter (RSR) Examination of the National Court Reporters Association, or an equivalent test as authorized by the Supreme Court, is eligible for enrollment without taking the skills examinations described in paragraphs a(1) and a(2) of this Rule. The applicant must, prior to certification, pass the Oklahoma Written Knowledge portion of the examination, and meet all other applicable eligibility requirements.



Rule 21. Continuing Education



a) All certified shorthand court reporters and every court reporter temporarily employed by the District Courts of Oklahoma, Workers' Compensation Court of Existing Claims, the Workers' Compensation Commission, or Corporation Commission must complete a total of four (4) hours of continuing education per calendar year.


All official court reporters and all court reporters temporarily employed by the District Courts of Oklahoma, the Workers' Compensation Court and the Corporation Commission must complete one (1) hour of continuing education per calendar year relating to Oklahoma Court Rules and Procedures. This shall be included in the required four (4) hours of continuing education.


Certified shorthand reporters must meet these continuing education requirements beginning the first year after the court reporter is enrolled or admitted by reciprocity. Temporary court reporters must meet these requirements during any year in which they are employed by the District Courts of Oklahoma, Workers' Compensation Court of Existing Claims, the Workers' Compensation Commission, or Corporation Commission if they do not successfully pass the Oklahoma certified shorthand reporter examination during that same year.

b) A court reporter may seek an exemption from the continuing education requirement by filing with the Board a written statement, verified under oath, setting forth one of the following grounds for exemption:

1) The reporter has attained the age of sixty-five (65) before or during the calendar year for which the reporter seeks an exemption;

2) The reporter was a member of the armed forces on full-time active duty during the entire calendar year for which the reporter seeks an exemption;

3) A medical condition has prevented the court reporter from working as a court reporter and completing continuing education for the calendar year for which the reporter seeks an exemption. Written verification by a licensed physician must accompany such an exemption request.





All exemption requests must be approved by the Board.

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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	Title 20. Courts

&nbsp;
Cite
Name
Level



&nbsp;
20 O.S. Rule 3, 
Eligibility
Cited


&nbsp;
20 O.S. Rule 4, 
Test Requirements
Cited


&nbsp;
20 O.S. Rule 21, 
Continuing Education
Cited



	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		






	
		
			
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